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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

AMGEN INC.,
Plaintiff,
V. C.A. No. 16-853 (MSG)
CONSOLIDATED
MYLAN PHARMACEUTICALS INC. and

MYLAN INC., C.A. No. 17-113 (MSG)

WV\_/\_/\/V\./\/V\_/

Defendants.
STIPULATION OF DISMISSAL
The undersigned, for and on behalf of the above named Plaintiff Amgen Inc. and
Defendants Mylan Pharmaceuticals Inc. and Mylan Inc., hereby stipulate and agree to the
dismissal, without prejudice, of all remaining claims and counterclaims in this action With the

parties to bear their own costs and attorney’s fees.

 

MoRRIs, NICHoLs, ARSHT & TUNNELL LLP STAMoULls & WEINBLATT LLC
/s/jac/§Q U[umenfe[¢{ /s/Stamatios Stamou[is

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Mylan Pharmaceutz`cals Inc.

February 28, 2018

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